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August 30, 2021
RE: Robert Bauer

Dear Your Honor,

We are writing on behalf of Mr. Robert (Bob) Bauer. We have been friends and neighbors with Mr.
Bauer for more than 10 years. In that time he has not only been a good neighbor, but a great friend as
well. Bob and his wife Jenny have lived in our neighborhood for many years now and they are quiet,
dependable, and responsible members of the community.

It was quite unexpected to hear of these charges brought against Bob, as this is not in his personality to
be involved with upheaval and discord. We are sure that while Bob was on a personal vacation it was
never expected to end the way it did. We truly believe this was a wrong place wrong time scenario and
that Bob had no ill intentions whatsoever, and feel that he strongly regrets his decision on being in that
location.

It is our hope that this letter regarding Mr. Bauer and these charges will act as a positive and
contributing factor when the court considers this matter.

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